       Edward J. Maney, Trustee
   1   101 N. 1st Avenue, Suite 1775
       Phoenix, AZ 85003
   2   Telephone (602) 277-3776
   3
       Fax No. (602) 277-4103
       ejm@maney13trustee.com
   4
                                IN THE UNITED STATES BANKRUPTCY COURT
   5
                                      FOR THE DISTRICT OF ARIZONA
   6
       In Re:                                             In Proceedings Under Chapter 13
   7

   8   KURT WAYNE NATION                                  Case No. 2:19-13839-EPB

   9   YOLANDA CHACON NATION                              TRUSTEE’S MOTION TO DISMISS
  10
                           Debtor(s)
  11
                COMES NOW Edward J. Maney, Trustee in the above-captioned Chapter 13
  12
       Proceeding and states that the debtor(s) is/are in default under the terms of their Chapter 13
  13

  14   Plan. Plan payments are 3 months delinquent and no showing has been made of any just

  15   cause for the default.
  16
                Total delinquency as of this date: $4353.00
  17
                The next scheduled payment is due: 8/29/20
  18
       Debtors is required to pay no less than $5704.00 by 09/19/2020 to avoid dismissal of this
  19

  20   case.

  21   The Trustee will lodge an order dismissing this case if the debtor(s) fail to meet one of the
  22
       following requirements:
  23
                1. All Plan payments must be current by 09/19/2020.
  24
                2. The debtor(s) file a Notice of Conversion to a Chapter 7 with the Court and serve
  25

  26               a copy on the Trustee.

  27            3. The debtor(s) file an Amended or Modified Plan including a Moratorium of Plan
  28
                   Payments with the Court and serve a copy on the Trustee.



Case 2:19-bk-13839-EPB           Doc 42 Filed 08/21/20 Entered 08/21/20 10:54:59            Desc
                                 Main Document     Page 1 of 3
       Dated: See Electronic Signature
   1

   2                                        EDWARD J. MANEY
                                            CHAPTER 13 TRUSTEE
                                                         Digitally signed by Ross
   3                                        Ross M. Mumme, M. Mumme, on behalf of
                                            on behalf of       Edward J. Maney,
                                            Edward J. Maney, Chapter 13 Trustee
   4                                                           Date: 2020.08.21
                                         By:______________________________
                                            Chapter 13 Trustee 10:21:28 -07'00'

   5                                        Edward J. Maney ABN 12256
                                            Chapter 13 Trustee
   6                                        101 North First Avenue, Suite 1775
                                            Phoenix, AZ 85003
   7                                        (602) 277-3776
   8                                        ejm@maney13trustee.com

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Case 2:19-bk-13839-EPB       Doc 42 Filed 08/21/20 Entered 08/21/20 10:54:59        Desc
                             Main Document     Page 2 of 3
   1   CERTIFICATE OF MAILING FOR CASE NO. 2:19-13839-EPB
   2
       Copies of the foregoing mailed (see electronic signature below) to the following:
   3

   4   Attorney for Debtor (s):
   5   Thomas Adams Mcavity
       Phoenix Fresh Start Bankruptcy Attorneys
   6   4602 E Thomas Rd, Ste S-9
       Phoenix, AZ 85028-
   7

   8   Debtor (s):
       KURT WAYNE NATION
   9   8550 W. MCDOWELL ROAD
       APT 213
  10   PHOENIX, AZ. 85037
  11
       YOLANDA CHACON NATION
  12   8550 W. MCDOWELL ROAD
       APT 213
  13   PHOENIX, 85037-
  14

  15                       Digitally signed
  16       Susan           by Susan
                           Havermale
  17       Havermale Date: 2020.08.21
                           10:28:31 -07'00'
  18   By:________________________
           Trustee’s Clerk
  19

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Case 2:19-bk-13839-EPB        Doc 42 Filed 08/21/20 Entered 08/21/20 10:54:59              Desc
                              Main Document     Page 3 of 3
